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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

PAUL SCHNETZER, On Behalf of                §
Himself and All Others Similarly            §
Situated,                                   §
                                            §
              Plaintiff,                    §
                                            §
v.                                          §      Civil Action No. 6:15-cv-736-MHS
                                            §
SARTAIN STRUCTURES, INC. AND                §
ROBERT SARTAIN,                             §
                                            §
       Defendants.                          §


     AGREED FINAL ORDER OF DISMISSAL WITH PREJUDICE PURSUANT TO
                            SETTLEMENT
       Now, therefore, this matter coming before the Court on Parties’ Joint Motion to Dismiss

Pursuant to Settlement (“Joint Motion”) (Doc. 13); the Court having reviewed the relevant

pleadings and filings; the Court having considered the arguments of counsel; and the Court

otherwise having been fully advised on the premises, hereby GRANTS the Joint Motion (Doc.

13) and ORDERS that:

       1.     The Parties have a bona fide dispute as to wages owed, if any; and

       2.     Plaintiff has at all times been represented by and had the benefit of experienced

legal counsel and has maintained equal bargaining power during all negotiations; and

       3.     Whereas, the parties have informed the Court that they have entered into a

compromise settlement agreement and agreed that each party shall bear their own costs and

attorney fees or as otherwise provided by the Settlement Agreement.

       4.     Accordingly, all claims asserted against Defendants are hereby dismissed in

 accordance with the terms of the compromise settlement agreement and in their entirety with



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    prejudice, with all costs taxed against the parties incurring same and all attorneys’ fees borne by

    the parties incurring same.


           It is SO ORDERED.

    SIGNED this 1st day of February, 2016.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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